                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

NANCY E. LEWEN,                             )
                        Plaintiff,          )      C.A. No. 17-148 Erie
                                            )
                 v.                         )
                                            )      District Judge Susan Paradise Baxter
PENNSYLVANIA SOLDIERS’ AND                  )
SAILORS’ HOME, et al.,                      )
                Defendants.                 )


                                           ORDER


       AND NOW, this 25th day of March, 2019,

       For the reasons set forth in this Court’s Memorandum Opinion issued on this date, IT IS

HEREBY ORDERED that Defendants’ motion to dismiss [ECF No. 60] is DENIED as to

Plaintiff’s First Amendment freedom of speech and retaliation claims against Defendant

Raymond, only, but is GRANTED as to all other claims against all other Defendants who joined

in the motion.

       IT IS FURTHER ORDERED that, pursuant to the authority granted by the PLRA,

Plaintiff’s claim against the unnamed Defendants identified as “unknown Board members” is

DISMISSED as frivolous, sua sponte.

       Based on the foregoing, all claims other than Plaintiff’s First Amendment claims against

Defendant Raymond are DISMISSED, and the Clerk is directed to terminate all Defendants other

than Defendant Raymond from this case.



                                            ___________________________________
                                            SUSAN PARADISE BAXTER
                                            United States District Judge
